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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                    WESTERN DIVISION
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                                                    Case No. 2:22-cv-04355-JFW-JEM
12    Yuga Labs, Inc.,
                                                    PROPOSED ORDER GRANTING
13
                         Plaintiff and Counterclaim APPLICATION TO FILE UNDER
14                       Defendant,                 SEAL
15
            v.                                      Judge: Hon. John F. Walter
16                                                  Hearing: April 17, 2023, at 1:30 p.m.
      Ryder Ripps and Jeremy Cahen,                 Discovery Cutoff Date: April 3, 2023
17
                                                    Pre-Trial Conference Date: June 9, 2023
18                       Defendants and             Trial Date: June 27, 2023
                         Counterclaim Plaintiffs.
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     Case No. 2:22-cv-04355-JFW-JEM                                   [PROPOSED] ORDER
 Case 2:22-cv-04355-JFW-JEM Document 164-1 Filed 03/27/23 Page 2 of 2 Page ID
                                 #:10849



 1         This matter is before the Court pursuant to Defendants’ application to file under
 2   seal Defendants’ opposition to Plaintiff’s motion for summary judgment and
 3   Defendants’ statement of genuine disputes of material facts. Having considered the
 4   briefing, supporting documents, and all other matter properly before the Court, being
 5   fully advised on the pleadings, and for compelling reasons appearing:
 6         IT IS HEREBY ORDERED THAT Defendants’ Application is GRANTED.
 7   Defendants shall file under seal their opposition brief and statement of genuine
 8   disputes of material fact.
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10         IT IS SO ORDERED
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13   Dated: _________________                        By:
14                                                         Honorable John F. Walter
                                                           United States District Judge
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     Case No. 2:22-cv-04355-JFW-JEM            -1-                        [PROPOSED] ORDER
